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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER                                 * MDL NO. 1873
       FORMALDEHYDE PRODUCTS                       *
       LIABILITY LITIGATION                        *  SECTION “N” (5)
                                                   *
                                                   *  JUDGE ENGELHARDT
                                                   *  MAGISTRATE CHASEZ
                                                   *
THIS DOCUMENT IS RELATED TO:                       *
                                                   *
Morter, et al., v. Gulf Stream Coach, Inc. et al., *
EDLA Case No. 09-7245                              *
* * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *

                 PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL


       The Named Plaintiffs in the above captioned matter, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby give notice of their dismissal of claims without prejudice against

Defendants CH2M Hill Constructors, Inc., and Fluor Enterprises, Inc., only. This dismissal does

not affect their claims against the remaining defendants, Gulf Stream Coach, Inc., and Shaw

Environmental, Inc.

                                    Respectfully submitted:
                                    FEMA TRAILER FORMALDEHYDE
                                    PRODUCT LIABILITY LITIGATION

                                    BY:    s/Gerald E. Meunier
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                                            COURT-APPOINTED PLAINTIFFS’
                                            STEERING COMMITTEE
                                            ANTHONY BUZBEE, Texas # 24001820
                                            ROBERT BECNEL, #14072
                                            RAUL BENCOMO, #2932
                                            FRANK D’AMICO, #17519
                                            MATT MORELAND, #24567
                                            LINDA NELSON, #9938
                                            DENNIS REICH, Texas # 167396
                                            MIKAL WATTS, Texas # 20981820

                               CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.

                                            s/Gerald E. Meunier
                                            GERALD E. MEUNIER, #9471
